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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                                        Crim. No. 17-232 (EGS)
 MICHAEL T. FLYNN,

                           Defendant


                     NOTICE OF DISCOVERY CORRESPONDENCE

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby files with the Court its most recent discovery correspondence in

this case.


                                                    Respectfully submitted,

                                                    JESSIE K. LIU
                                                    U.S. Attorney for the District of Columbia

                                                    By: /s/

                                                    Brandon L. Van Grack
                                                    Special Assistant U.S. Attorney
                                                    950 Pennsylvania Ave., NW
                                                    Washington, DC 20530
                                                    (202) 233-0968

                                                    Jocelyn Ballantine
                                                    Assistant United States Attorney
                                                    555 4th Street NW
                                                    Washington, D.C. 20530




Dated: December 19, 2019
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                               CERTIFICATE OF SERVICE

      I, Jocelyn Ballantine, certify that I caused to be served a copy of the foregoing by electronic
means on counsel of record for the defendant on December 15, 2019.




                                                      ______/s/_______________
                                                      Jocelyn Ballantine
                                                      Assistant United States Attorney
                                                      555 4th Street NW
                                                      Washington, D.C. 20530

                                                      Attorney for the United States of America




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                                                      U.S. Department of Justice

                                                      Jessie K. Liu
                                                      United States Attorney

                                                      District of Columbia


                                                      Judiciary Center
                                                      555 Fourth St., N.W.
                                                      Washington, D.C. 20530




                                                     December 15, 2019

Via Email & FedEx
Jesse Binnall
Harvey & Binnall, PLLC
717 King Street
Suite 300
Alexandria, VA 22314


       Re:      United States v. Michael T. Flynn, 17-cr-00232 (EGS)

Dear Counsel:

        The government is hereby providing defendant Michael T. Flynn with the reports and
related materials for his post-January 24, 2017 interviews, which are numbered DOCSCO-
700022699 – DOJSCO700023423. Small portions of these materials are redacted because they
contained privileged/deliberative process information. The government is also providing counsel
with a copy of defendant Flynn’s grand jury transcript, which is protected under Rule 6(e), which
is numbered DOJSCO-700023424 – DOJSCO-700023460. There materials are covered by the
Protective Order entered by the Court on February 21, 2018.

                                            Sincerely,

                                            JESSIE K. LIU
                                            United States Attorney

                                     By:
                                            Brandon L. Van Grack
                                            Special Assistant United States Attorney
                                            Jocelyn Ballantine
                                            Assistant United States Attorney
